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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 21-cr-20137-BLOOM

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 MICHAEL WILLIAMS,

       Defendant.
 ______________________________/

                  ORDER ON MOTION TO COMPEL GOVERNMENT
            TO IDENTIFY STATEMENTS OFFERED UNDER FRE 801(d)(2)(E)

        THIS CAUSE is before the Court upon Defendant Michael Williams’s (“Defendant” or

 “Williams”) Motion to Compel Government to Identify Statements Offered under FRE

 801(d)(2)(E), ECF No. [61] (“Motion”). Plaintiff United States of America (“Government”) filed

 a Response, ECF No. [66], to which Defendant filed a Reply, ECF No. [67]. The Court has

 carefully considered the Motion, the response and reply, the record in this case and the applicable

 law, and is otherwise fully advised. For the reasons that follow, the Motion is denied.

        The Court assumes the parties’ familiarity with the underlying facts of this case. For

 purposes of the Motion, the critical facts include that Defendant is charged with conspiracy to

 possess with intent to distribute a controlled substance in violation of 21 U.S.C. § 846 (Count I)

 and attempt to possess with intent to distribute a controlled substance in violation of 21 U.S.C.

 § 846 (Count II). ECF No. [12]. He has pleaded not guilty, and this case is scheduled for trial on

 December 6, 2021. ECF No. [65]. In addition, the Government has indicated that it is unlikely to

 call Defendant’s co-conspirator, Michelle Berry (“Berry”), to testify at Defendant’s trial. As a

 result, Defendant anticipates that the Government will seek to introduce at his trial statements
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 made by Berry as non-hearsay pursuant to Federal Rule of Evidence 801(d)(2)(E). Defendant

 therefore seeks an order compelling the Government to identify which statements it intends to offer

 under Rule 801(d)(2)(E) to avoid delays during trial.

        The Government responds that Defendant’s request should be denied because no principle

 of federal criminal law requires the Government to specifically identify such statements, or

 otherwise “lock itself into a particular trial presentation so far in advance of trial.” ECF No. [66]

 at 1. The Government argues further that early disclosure of the co-conspirator statements it

 intends to introduce at trial is inappropriate because the Motion lacks any specificity about what

 co-conspirator statements Defendant contends are inadmissible. According to the Government, it

 has produced all of the co-conspirator’s statements made during the conspiracy and after arrest.

 Notably, Defendant does not contend that there are statements made by co-conspirator Berry that

 the Government has failed to produce in discovery. As such, the Government contends that the

 proper course is for Defendant to specifically identify any statements he believes should be

 excluded and seek appropriate relief from the Court—rather than seek an order from the Court

 compelling the Government to specifically identify which statements of those produced in

 discovery it intends to rely upon at trial. Upon review, the Court agrees with the Government.

        The Rules of Evidence define as not hearsay a statement offered against an opposing party

 that “was made by the party’s coconspirator during and in furtherance of the conspiracy.” Fed. R.

 Evid. 801(d)(2)(E). The Rule further states that “[t]he statement must be considered but does not

 by itself establish . . . the existence of the conspiracy or participation in it . . . .” Fed. R. Evid.

 801(d)(2). “Before admitting a co-conspirator’s statement over an objection that it does not qualify

 under Rule 801(d)(2)(E), a court must be satisfied that the statement actually falls within the

 definition of the Rule.” Bourjaily v. United States, 483 U.S. 171, 175 (1987). “There must be




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 evidence that there was a conspiracy involving the declarant and the nonoffering party, and that

 the statement was made ‘during the course and in furtherance of the conspiracy.’” Id. In addition,

 “[p]reliminary questions concerning . . . the admissibility of evidence shall be determined by the

 court.” Id. (quoting Federal Rule of Evidence 104(a)). “[W]hen the preliminary facts relevant to

 Rule 801(d)(2)(E) are disputed, the offering party must prove them by a preponderance of the

 evidence.” Id. at 176. For statements to be admissible under Rule 801(d)(2)(E), the Government

 must prove that (1) a conspiracy existed, (2) the conspiracy included the declarant and the

 defendant against whom the statement is offered, and (3) the statement was made during the course

 and in furtherance of the conspiracy. United States v. Miles, 290 F.3d 1341, 1351 (11th Cir. 2002).

         Defendant contends that because the Government bears the burden of proving that co-

 conspirator statements are admissible, the Court should require the Government to identify the

 specific statements it considers to be admissible in this case so that the parties can litigate the

 admissibility of such statements now in order to determine whether Defendant should request a

 James hearing. See United States v. James, 590 F.2d 575 (5th Cir. 1979). However, Defendant’s

 request appears to turn the process on its head. “A James hearing is simply a device for avoiding

 the risk of inadvertent introduction of hearsay at trial. It is not dispositive on the issue of hearsay,

 however, because the admissibility of testimony is, ultimately, a trial ruling.” United States v.

 Pepe, 747 F.2d 632, 653 (11th Cir. 1984). Nor is a James hearing mandatory. Id. While the Court

 appreciates Defendant’s argument that requiring the Government to identify specific co-

 conspirator statements now may be more efficient, Defendant points to no rule or law that would

 require the process he now urges.

         Defendant relies upon United States v. Holland, 396 F. Supp. 3d 1210 (N.D. Ga. 2019), for

 support. However, Holland is easily distinguishable. First, the issue of the introduction of co-




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 conspirator statements arose before the court in Holland because the defendants sought a James

 hearing, which Defendant has not done here. 396 F. Supp. 3d at 1248. The government opposed

 the defendants’ request in Holland as impractical because, as the court recognized, there were as

 many as fifty-five (55) potential coconspirators involved. Id. Therefore, as a “compromise”, and

 because the government planned to do so anyway thirty days in advance of trial, the court in

 Holland ordered the government to provide a list of coconspirator statements within sixty days of

 the order so that the defendants could move to exclude the ones they believed should be excluded

 at least sixty days in advance of trial, and so the court could rule on such a motion and hold a

 hearing if necessary. Id. at 1248-49. Here, there is one co-conspirator, and Defendant has not

 requested a James hearing. Moreover, Defendant has not argued that there are statements made by

 Berry that have not been properly disclosed in discovery.

        As such, if Defendant believes in good faith that there are statements made by Berry which

 would not be properly admissible at trial under Rule 801(d)(2)(E), Defendant may file a motion

 seeking the exclusion of such statements, so that the Court may rule on the motion or hold a James

 hearing in advance of trial, if necessary. Absent a rule or law requiring otherwise, the Court will

 not require the Government at this juncture to specifically identify which of the statements made

 by Berry it may seek to introduce at Defendant’s trial.

        Accordingly, the Motion, ECF No. [61], is DENIED.

        DONE AND ORDERED in Chambers at Miami, Florida, on October 14, 2021.




                                                      ________________________________
                                                      BETH BLOOM
                                                      UNITED STATES DISTRICT JUDGE
 Copies to:




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 Counsel of record




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